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IN THE UNITED STATES DISTRICT cOURT /{@/Q//
FoR THE WESTERN DISTRICT oF TENNESSEE 05 *
EASTERN DIvISION \.,»'_¢{,;,;, in
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UNITED sTATEs oF AMERICA "\£P`,'»}y"~`¢/'S@‘,);%
V“ ff;/_`/- LO,{§;€'/~/Z:P
vs criminal NO. 1=05*10032'“¢<»’~@“
\.rL/;'_,‘}b.f

R_AYMOND SAVOY

ORDER CONTINUING TRIAL DATE AND SPEC'IFYING DELAY
EXCLUDABLE UNDER SPEEDY TRIAL ACT

Upon motion of counsel for defendant the trial date of
July 5, 2005, is continued to allow counsel for defendant additional
time in which to prepare. The ends of justice served.by taking such
action outweigh the best interest of the public and the defendant in
a speedy trial.

The Clerk shall re-set the REPORT DATE/MOTION HEARING for
Tuesdayl August 30l 2005 at 8:30 A.M. and reset TRIAL DATE for
Tuesday, September 6. 2005 at 9:30 A.M. The Court finds that the
grounds for this continuance justified excluding the period of
July 5, 2005, to September 6, 2005, as excludable delay under

Title 18 U.S.C.§3161 (h)(B)(B)(iv) and(h)(S)(A).

I'i‘ IS SO ORDERED.
@T/V)\M b ‘ W

JAM n. 'TOJ'JD
UNI n sTATEs DISTRICT JUDGE

DATE= 96 ?//VM~ 25ng

Th|s documem entered on the docket heet \n compliance
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Notice of Distribution

This notice confirms a copy of the document docketed as number 38 in
case 1:05-CR-10032 Was distributed by faX, mail, or direct printing on
June 21 , 2005 to the parties listed.

 

Richard Leigh Grinalds

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Honorable J ames Todd
US DISTRICT COURT

